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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA

CHRYSTAL HOLMES, on behalf of                Case No.:
herself and all others similarly situated,
                                             DEFENDANTS’ NOTICE OF
                 Plaintiff,                  REMOVAL

       v.                                    [Filed concurrently with Civil Cover
                                             Sheet and Corporate Disclosure
THE VILLAGES TRI-COUNTY                      Statement]
MEDICAL CENTER, INC. d/b/a UF
HEALTH CENTRAL FLORIDA;       Action Filed:     September 3, 2021
LEESBURG REGIONAL MEDICAL     Complaint Served: September 15, 2021
CENTER, INC. d/b/a UF HEALTH
CENTRAL FLORIDA; and CENTRAL
FLORIDA HEALTH, INC. d/b/a UF
HEALTH CENTRAL FLORIDA

                 Defendants.



TO THE CLERK OF THE ABOVE-ENTITLED COURT:

      PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332(d), 1441,

1446, and 1453, Defendants The Villages Tri-County Medical Center, Inc. d/b/a UF

Health Central Florida (“The Villages”); Leesburg Regional Medical Center, Inc.

d/b/a UF Health Central Florida (“LRMC”); and UF Health Central Florida d/b/a UF

Health Central Florida (“Central Florida”) (collectively, “UF Health Central

Florida” or “Defendants”) removes the action filed by Chrystal Holmes (“Plaintiff”),

on behalf of herself and all others similarly situated, in the Circuit Court for the Fifth
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Judicial Circuit in and for Lake County, Florida, Case No. 35-2021-CA-001536-

AXXX-XX, to the United States District Court for the Middle District of Florida.

                             JURISDICTION AND VENUE

         1.          This is a civil action over which this Court has original subject

matter jurisdiction under 28 U.S.C. § 1332, and removal is proper under the Class

Action Fairness Act of 2005 (“CAFA”), codified in pertinent part at 28 U.S.C. §

1332(d).

         2.          This Court is in the judicial district and division embracing the place

where the state court case was brought and is pending. Thus, this Court is the proper

district court to which this case should be removed. 28 U.S.C. §§ 1441(a), 1446(a).

                    THE ACTION & TIMELINESS OF REMOVAL

                    FACTUAL AND PROCEDURAL BACKGROUND

         3.          On September 3, 2021, Plaintiff, on behalf of herself and,

purportedly, all others similarly situated, filed a Class Action Complaint (the

“Complaint”) against UF Health Central Florida in the Circuit Court for the Fifth

Judicial Circuit in and for Lake County, Florida, Case No. 35-2021-CA-001536-

AXXX-XX (the “State Court Action”). Plaintiff filed the Complaint as a putative

class action. A true and correct copy of the Complaint in the State Court Action is

attached hereto as Exhibit A.




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         4.         On September 15, 2021, Plaintiff served UF Health Central Florida

with copies of the Summons and Complaint via process server. True and correct

copies of the Summons and Proofs of Service are attached hereto as Exhibit B.

         5.         A copy of the docket in the State Court Action is attached as Exhibit

C.

         6.         Pursuant to 28 U.S.C. § 1446(a), all other process, pleadings, and

orders that have been filed and served in the State Court Action are attached to this

Notice of Removal as Exhibit D.

         7.         This removal is timely because UF Health Central Florida filed this

removal within 30 days of being served with the Complaint. See 28 U.S.C. § 1446(b)

(notice of removal shall be filed within 30 days of service); Murphy Bros. v. Michetti

Pipe Stringing, Inc., 526 U.S. 344, 348 (1999) (time period for removal begins when

the defendant is served).

                                CAFA JURISDICTION

         8.         Basis of Original Jurisdiction. This Court has original jurisdiction

over this action under CAFA (codified in pertinent part at 28 U.S.C. § 1332(d)).

Section 1332(d) provides that a district court shall have original jurisdiction over a

class action with one hundred (100) or more putative class members, in which the

matter in controversy, in the aggregate, exceeds the sum or value of $5 million.

Section 1332(d) further provides that, for original jurisdiction to exist, “any member


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of a class of plaintiffs” must be a “citizen of a State different from any Defendant.”

28 U.S.C. § 1332(d)(2)(A).

         9.         As set forth below, pursuant to 28 U.S.C. § 1332(d) and § 1441(a),

UF Health Central Florida may remove the State Court Action to federal court under

CAFA because: (i) this action is pled as a class action; (ii) the putative class includes

more than one hundred (100) members; (iii) members of the putative class are

citizens of a state different from that of Defendants; and (iv) the matter in

controversy, in the aggregate, exceeds the sum or value of $5,000,000, exclusive of

interest and costs.

                    THE ACTION IS PLED AS A CLASS ACTION

         10.        CAFA defines a “class action” as “any civil action filed under rule

23 of the Federal Rules of Civil Procedure or similar State statute or rule of judicial

procedure authorizing an action to be brought by 1 or more representative persons

as a class action.” 28 U.S.C. § 1332 (d)(1)(B) (emphasis added).

         11.        Plaintiff brings this action as a “class action” and seeks class

certification under Florida law pursuant to Florida Rules of Civil Procedure, Rule

1.220(b)(2), (b)(3), and (d)(4). [Compl. ¶¶ 1, 77.] Because “Florida's Class Action

rule, Florida Rule of Civil Procedure 1.220, is based on Federal Rule of Civil

Procedure 23,” Concerned Class Members v. Sailfish Point, Inc., 704 So. 2d 200,




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201 (Fla. Dist. Ct. App. 1998), the first CAFA requirement is met. [Compl., ¶ 77

(“Plaintiff brings this nationwide class action . . .”).]

                    THE PUTATIVE CLASS INCLUDES AT LEAST

                          ONE HUNDRED (100) MEMBERS

         12.         Plaintiff alleges that “[o]n or around May 29 to May 31, 2021, an

unauthorized actor obtained unauthorized access to [Defendants’] computer network

as part of a ransomware attack” that may have resulted in the unauthorized actor

accessing the “PII and PHI of [Defendants’] current and former patients…” (the

“Ransomware Attack”).1          [Compl., ¶¶ 5-6.]    Plaintiff further alleges that the

Ransomware Attack occurred as a result of Defendants’ “failure to: (i) adequately

protect the PII and PHI of [Defendants’] current and former patients; (ii) warn

[Defendants’] current and former patients of [Defendants’] inadequate information

security practices; and (iii) effectively secure hardware containing protected PII and

PHI using reasonable and effective security procedures free of vulnerabilities and

incidents.” [Compl., ¶ 12.]




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  Plaintiff defines “PII” as “names, addresses, dates of birth, and/or Social Security
numbers.” [Compl., ¶ 1.] Plaintiff defines “PHI” as “health insurance information,
medical record numbers, patient account numbers, and/or limited treatment
information.” [Id.]

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         13.        Based on these allegations, Plaintiff asserts three causes of action

against Defendants: (1) negligence, (2) breach of contract, and (3) breach of

fiduciary duty. [See, generally, Compl.]

         14.        Furthermore, Plaintiff purports to bring these three causes of action

on behalf of herself and a nationwide class (the “Class”). [Compl., ¶ 78.] Plaintiff

defines the Class as: “All individuals whose PII and/or PHI was accessed or

potentially accessed during the [Ransomware Attack] event referenced in the

Website Notice.” [Id.]

         15.        Although Plaintiff alleges that “the exact numbers of members in the

Class can be ascertained through Defendants’ records,” she does allege that “[o]n

July 30, 2021, Defendants notified the U.S. Department of Health and Human

Services that 700,981 individuals were affected by the [Ransomware Attack].”

[Compl., ¶ 81.]

         16.        Defendants mailed notification to approximately 646,358 people

within the United States that their information may have been impacted by the

Ransomware Attack.

         17.        Therefore, the number of putative class members exceeds the

statutorily required minimum of 100.




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                    MINIMAL DIVERSITY OF CITIZENSHIP EXISTS

         18.          Pursuant to 28 U.S.C. § 1332(d)(2)(A), the “district court shall have

original jurisdiction” over a “class in which . . . any member of the class of plaintiffs

is a citizen of a State different from any defendant.” (emphasis added). See also Day

v. Sarasota Drs. Hosp., Inc., No. 8:19-CV-1522-T-33TGW, 2020 WL 5758003, at

*2 (M.D. Fla. Sept. 28, 2020) (stating that minimal diversity is met if “a single

putative class member was a citizen of a state other than [that of Defendants] at the

time of removal”).

         19.          Plaintiff’s and the Putative Class’ Citizenship. To be a “citizen” of

a state, the individual must not only reside in that state, but he or she also must

“inten[d] to remain in that state.” Smith v. Marcus & Millichap, Inc., 991 F.3d 1145,

1157 (11th Cir. 2021). Here, Plaintiff alleges in the Complaint that she “is a citizen

of Florida residing in Lake County, Florida.” [Compl., ¶ 15.] The putative class she

seeks to represent, however, is much broader and more expansive geographically.

After determining whose information could have potentially been impacted by the

Ransomware Attack, Defendants sent notifications of the Ransomware Attack to

people with addresses in all 50 states and the District of Columbia. And while

“residency does not equate to citizenship,” Smith, 991 F.3d at 1157 (11th Cir. 2021),

in this case, where only one putative class member must reside and intend to remain




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in a state different than Florida, it is more likely than not that at least one of the

approximately 646,358 putative class members is a non-Florida citizen.

         20.        Defendants’ Citizenship.     Pursuant to 28 U.S.C. § 1332(c), “a

corporation shall be deemed to be a citizen of any State by which it has been

incorporated and of the State where it has its principal place of business.” The

United States Supreme Court has concluded that a corporation’s “principal place of

business” is “where a corporation’s officers direct, control, and coordinate the

corporation’s activities,” i.e., the corporation’s “nerve center.” Hertz Corp. v.

Friend, 130 S. Ct. 1181, 1192 (2010). “[I]n practice,” a corporation’s “nerve center”

should “normally be the place where the corporation maintains its headquarters.” Id.

“The public often (though not always) considers it the corporation’s main place of

business.” Id. at 1193.

         21.        The Villages is a Florida corporation.

         22.        Pursuant to Hertz’s nerve center test, The Villages has its principal

place of business in Florida. Specifically, its headquarters are located at 1451 El

Camino Real, The Village, Fl 32159. Accordingly, The Villages is a citizen of the

State of Florida.

         23.        LRMC is a Florida Corporation.

         24.        Pursuant to Hertz’s nerve center test, LRMC has its principal place

of business in Florida. Specifically, its headquarters are located at 600 E. Dixie


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Avenue, Leesburg, FL 34748. Accordingly, LRMC is a citizen of the State of

Florida.

         25.        Central Florida is a Florida corporation.

         26.        Pursuant to Hertz’s nerve center test, Central Florida has its

principal place of business in Florida. Specifically, its headquarters are located at

410 Childs St., Leesburg, FL, 34748. Accordingly, Central Florida is a citizen of the

State of Florida.

         27.        As established in Paragraphs 20-26 above, minimal diversity of

citizenship exists pursuant to CAFA because each of the Defendants is a citizen of

the State of Florida, and it is more likely than not that at least one of the

approximately 646,358 putative class members is a citizen of a state other than

Florida.

         28.        Furthermore, neither Defendants nor Plaintiff can show, let alone

demonstrate, that CAFA’s “local controversy exception” applies.              The “local

controversy exception” requires a district court to “decline to exercise jurisdiction

when three requirements are met: (1) greater than two-thirds of the proposed plaintiff

class are citizens of the state of filing; (2) at least one ‘significant defendant’ is a

citizen of the state of filing; and (3) the principal injuries were incurred in the state

of filing.” Smith., 991 F.3d at 1155 (citing 28 U.S.C. § 1332(d)(4)(A)(i)). With over

640,000 putative class members with addresses in all 50 states, there simply is no


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way to know who is a citizen of what state without speaking directly to each of those

over 640,000 individuals. Smith, 991 F.3d at 1157 (holding that to prove

“citizenship” for the purpose of the local controversy exception, the plaintiff “must

provide evidence of the class members’ state of residence as well as evidence

showing their intent to remain in that state” and that “[m]ere mental fixing of

citizenship is not sufficient. What is in another man's mind must be determined by

what he does as well as by what he says”). This is especially true here, where

“citizens of other states may live part of the year in Florida…, but maintain a

permanent residence elsewhere.” Id at 1158. Further exacerbating this problem is

the nature of the putative class here, many of whom were residents in nursing care

facilities. And, as the Court in Smith noted, just because a person “ha[s] to enter into

a short-term care nursing facility while in Florida” in no way means they are citizens

of Florida. Id.

            THE AMOUNT IN CONTROVERSY EXCEEDS THE CAFA

                                    THRESHOLD2

         29.        Where a complaint does not specify the amount of damages sought,

as is the case with Plaintiff’s Complaint, the removing defendants must prove by a



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  The amounts set forth in this Notice of Removal are solely for purposes of
establishing that the amount in controversy exceeds the $5,000,000 threshold and
are not intended and cannot be construed as an admission that Plaintiff can state a
claim or is entitled to damages in any amount. Defendants deny liability, deny
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preponderance of the evidence that the jurisdictional amount-in-controversy is

satisfied. 28 U.S.C.A. § 1446(c)(2)(B). The United States Supreme Court has held

that “a defendant’s notice of removal need include only a plausible allegation that

the amount in controversy exceeds the jurisdictional threshold” to meet the amount-

in-controversy requirement. Dart Cherokee Basin Operating Co., LLC v. Owens,

574 U.S. 81, 90 (2014).

         30.        As demonstrated below, the allegations in the Complaint make it

more likely than not that the amount in controversy under CAFA exceeds

$5,000,000.

         31.        Breach-of-Contract Claim.    Plaintiff alleges that “Defendants

acquired and maintained the PII and PHI of Plaintiff and the…Class” and that, in

doing so, “entered into contracts with Plaintiff and the…Class requiring Defendants

to protect and keep private medical information of Plaintiff and the…Class.”

[Compl., ¶¶ 130, 132.] Plaintiff further alleges that “Defendants breached the

contract they made with Plaintiff and the…Class by failing to protect and keep

private medical information of Plaintiff and the…Class.” [Compl., ¶ 134.]

         32.        As a result of Defendants’ alleged breach of contract, Plaintiff

claims that she and the Class “have suffered (and will continue to suffer) ongoing,



Plaintiff is entitled to recover any amount, and deny that a class can be properly
certified in this matter.
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imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting

in monetary loss and economic harm; actual identity theft crimes, fraud, and abuse,

resulting in monetary loss and economic harm; loss of confidentiality of the stolen

data; the illegal sale of the compromised data on the dark web; expenses and/or time

spent on credit monitoring and identity theft insurance; time spent scrutinizing bank

statements, credit card statements, and credit reports; expenses and/or time spent

initiating fraud alerts, decreased credit scores and ratings; lost work time; and other

economic and non-economic harm.” [Compl., ¶ 135.]

         33.        Plaintiff’s Complaint contains no allegations that would support or

suggest the amount in actual damages to which she or any of member of the Class

are allegedly entitled for Defendants’ alleged breach of contract. However, because

Plaintiff does seek recovery for time and money spent “scrutinizing bank statements,

credit card statements, and credit reports,” as well as “expenses and/or time spent

initiating fraud alerts [and] decreased credit scores and ratings,” one option for

assigning a value to these damages is through the cost of credit monitoring. The cost

of credit monitoring is the “out-of-pocket expenses” associated with the prevention,

detection, and recovery from identity theft, tax fraud, and/or authorized use of their

PII and PHI that Plaintiff alleges she and the Class are at risk of in the future.

         34.        Three main identity-protection agencies—Equifax, LifeLock, and

Experian—advertise monthly rates for credit-monitoring services ranging from


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$14.99 to $19.95 per person per month. For example, LifeLock offers a product,

titled Norton360 with LifeLock, that provides 1-Bureau credit monitoring with up to

$25,000 in “stolen funds reimbursement” for $14.99 per month.3 Similarly, both

Equifax4 and Experian5 offer products that provide 3-Bureau credit monitoring with

up to $1 million in identity theft insurance for $19.95 per month. Multiplying just

the cost of providing one month of credit-monitoring services at $14.99 (the cheapest



3
  See https://www.lifelock.com/family-
plans/?promocode=BSEM60MBGCBU&om_sem_cid=hho_sem_sy:us:ggl:en:e:br
:ll&utm_source=google&utm_medium=cpc&utm_campaign=1584904959&adgro
up=66661422904&utm_term=lifelock%2520credit%2520monitoring&targetid=kw
d-
295997165667&matchtype=e&utm_content=297610135624&network=g&device=
c&adp=&testgroup=&pgrid=66661422904&ptaid=kwd-
295997165667&gclid=EAIaIQobChMI0v-3-
eG28wIVEFpgCh2XSQzTEAAYASABEgLMPPD_BwE&gclsrc=aw.ds (last
visited: October 6, 2021).
4
 See https://www.equifax.com/equifax-
complete/Equifax/?CID=2_equifax%20credit%20monitoring_G_e&adID=502355
994880&DS3_KIDS=p50281164756&campaignid=71700000061086345&sakwid
=43700050281164756&gclid=EAIaIQobChMIzpzAneG28wIVS9KzCh3vCA_ME
AAYASAAEgIjevD_BwE&gclsrc=aw.ds (last visited: October 6, 2021)
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https://www.experian.com/lp/creditlock.html?bcd=ad_c_sem_427_515842009606
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tBh0rgAUsEAAYASABEgIWwfD_BwE_k_&ref=identity&awsearchcpc=1&gcli
d=EAIaIQobChMIzZ63geO28wIVTR-tBh0rgAUsEAAYASABEgIWwfD_BwE
(last visited: October 6, 2021).

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of the three products) by the number of putative class members, the amount in

controversy for just credit monitoring is approximately $9,688,906.42 (calculated

as: 646,358 individuals notified, times 1 month, times $14.99 per month).

         35.        Negligence Claim. Plaintiff alleges that Defendants, “through their

actions and/or omissions, unlawfully breached [their] duties to Plaintiff and

the…Class by failing to implement industry protocols and exercise reasonable care

in protecting and safeguarding the PII and PHI of Plaintiff and the…Class during the

time the PII and PHI was within Defendant’s possession and control.” [Compl., ¶

111.] Specifically, Plaintiff alleges (1) that “[a]s a condition of their treatment by

Defendants, Defendants’ current and former patients were obligated to provide and

entrust Defendants with certain PII and PHI” [Compl., ¶ 94]; (2) that “Plaintiff and

the…Class entrusted their PII and PHI to Defendants on the premise and with the

understanding that Defendants would safeguard their information, use their PII and

PHI for business purposes only, and/or not disclose their PII and PHI to unauthorized

third parties” [Compl., ¶ 95]; (3) that “Defendants had a duty to,” among other

things, “exercise reasonable care in safeguarding, securing, and protecting such

information from being compromised, lost, stolen, misused, and/or disclosed to

unauthorized parties” [Compl., ¶ 98]; and (4) that Defendants breached that duty

[Compl., ¶ 111].




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         36.        Plaintiff further alleges that “[a]s a direct and proximate result of

Defendants’ negligence and negligence per se, Plaintiff and the…Class have

suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity of how their PII and PHI is used; (iii) the compromise,

publication, and/or theft of their PII and PHI; (iv) out-of-pocket expenses associated

with the prevention, detection, and recovery from identity theft, tax fraud, and/or

authorized use of their PII and PHI; (v) lost opportunity costs associated with effort

expended and the loss of productivity address and attempting to mitigate the present

and future consequences of the [Ransomware Attack], including, but not limited to,

efforts spent researching how to prevent, detect, and recover from tax fraud and

identity theft; (vi) costs associated with placing freezes on credit reports; (vii) the

continued risk of their PII and PHI, which remain in Defendants’ possession and is

subject to further unauthorized disclosures so long as Defendants fail to undertake

appropriate and adequate measures to protect the current and former patients’ PII

and PHI in their continued possessions; and (viii) present and future costs in terms

of time, effort, and money that will be expended to prevent, detect, contest, and repair

the impact of the PII and PHI compromised as a result of the [Ransomware Attack]

for the remained of the lives of Plaintiff and the Class.” [Compl., 124.]

         37.        Plaintiff’s Complaint contains no allegations that would support or

suggest the amount in actual damages to which she or any of member of the Class


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are allegedly entitled for Defendants’ alleged breach of contract. But, as stated

above, just one month of Norton360 with LifeLock for each member of the Class

would amount to, at a minimum, $9,688,906.42. Plaintiff’s other allegations do not

support or suggest the amount in other economic and noneconomic damages,

especially given that Plaintiff does not allege that either she or any member of the

Class has suffered fraud, attempted fraud, or out-of-pocket expenses as a result of

the Ransomware Attack. Therefore, Defendants do not include in the calculation of

the total amount in controversy Plaintiff’s alleged damages arising from Defendants’

alleged negligent acts or omissions. However, when these alleged damages are

combined with the cost of just one month of credit monitoring for the entire Class,

the amount in controversy further exceeds CAFA’s $5,000,000 threshold.6

         38.        Breach-of-Fiduciary-Duty Claim.       Plaintiff alleges that “a

relationship existed between [her], the…Class, and Defendants in which [she] and

the…Class put their trust in Defendants to protect the private information of Plaintiff

and the…Class and Defendants accepted that trust.” [Compl., ¶ 139.] Plaintiff

further alleges that Defendants “breached that fiduciary duty…by failing to act with

the utmost good faith, fairness, and honesty, failing to act with the highest and finest




6
 As discussed below in Paragraphs 42 and 43, to the extent Plaintiff can recover
any money under either her negligence or breach-of-confidence claims, that
amount is capped at $300,000 pursuant to Florida’s sovereign immunity statute.

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loyalty, and failing to protect the private information of Plaintiff and the…Class.”

[Compl., ¶ 140.]

         39.        Plaintiff alleges that “[a]s a direct and proximate result of

Defendants’ breach of fiduciary duty, Plaintiff [is] entitled to and demand[s] actual,

consequential, and nominal damages and injunctive relief.” [Compl., ¶ 144.]

Plaintiff’s Complaint, however, contains no allegations that would support or

suggest the amount in “actual, consequential, and nominal damages” she or any

member of the Class allegedly sustained as a result of Defendants’ alleged breach of

fiduciary duty. Therefore, Defendants do not include in the calculation of the total

amount in controversy Plaintiff’s or the Class’ alleged breach-of-fiduciary-duty

damages. However, when Plaintiff’s and the Class’ alleged breach-of-fiduciary-duty

damages are combined with the cost of just one month of Norton360 with LifeLock

credit monitoring for each member of the Cass, the amount in controversy further

exceeds CAFA’s $5,000,000 threshold.

         40.        Total Amount in Controversy. Based on the discussion above, the

amount in controversy based just on one month of Norton360 with LifeLock credit

monitoring for each member of the Cass exceeds the $5,000,000 CAFA minimum

before ever taking into account other forms of compensatory damages, injunctive

relief, or attorneys’ fees, which, as discussed below, adds even more to the total

amount in controversy.


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         41.        Other Claims. In addition to the damages discussed above, Plaintiff

also requests injunctive relief for herself and the Class. [Compl., Prayer for Relief.]

In certain circumstances, where the value of injunctive relief is not too speculative,

the value can be considered when determining the amount in controversy. Anderson

v. Wilco Life Ins. Co., 943 F.3d 917, 929 (11th Cir. 2019) (finding CAFA jurisdiction

where the plaintiffs’ “injunctive demand…is an integral and key component of her

complaint valued at over $75 million.”). Here, however, no allegations in the

Complaint allow Defendants to calculate the amount of Plaintiff’s injunctive relief

demand, and, therefore, Defendants have not included that value in the calculation o

of the total amount in controversy.         Nevertheless, Defendants underscore the

allegations to the Court as further evidence that the amount in controversy exceeds

$5,000,000, as already established above.

                              IMPACT OF IMMUNITY

         42.        Under well-settled Florida law, the state and its agencies or

subdivisions are entitled to sovereign immunity. See Fla. Stat. Ann.§ 768.28(1).

Under that statute, “[a]ctions at law against the state or any of its agencies or

subdivisions to recover damages in tort for money damages against the state or its

agencies or subdivisions for injury or loss of property, personal injury, or death

caused by the negligent or wrongful act or omission of any employee of the agency

or subdivision while acting within the scope of the employee's office or employment


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under circumstances in which the state or such agency or subdivision, if a private

person, would be liable to the claimant, in accordance with the general laws of this

state, may be prosecuted subject to the limitations specified in this act.” Id.

(emphasis added). More specifically, “[n]either the state nor its agencies or

subdivisions shall be liable to pay a claim or a judgment by any one person which

exceeds the sum of $200,000 or any claim or judgment, or portions thereof, which,

when totaled with all other claims or judgments paid by the state or its agencies or

subdivisions arising out of the same incident or occurrence, exceeds the sum of

$300,000.” Id. at § 768.28(5)(a). Defendants are “not-for-profit subsidiary[ies]” of

Shands Teaching Hospital and Clinics, Inc., and, therefore, any recovery for tort

claims against Defendants is unquestionably capped at $300,000. Fla. Stat. Ann. §

1004.41 (4)(e).

         43.        Defendants also believe that sovereign immunity bars entirely

Plaintiff from recovering under her breach-of-contract claim. However, based on

Defendants’ meet-and-confer efforts with Plaintiff, Defendant understands that

Plaintiff does not believe sovereign immunity has any impact on her breach-of-

contract claim. Thus, while any amounts Plaintiff may recover under her two tort

claims will be capped at $300,000, Plaintiff has alleged, as discussed above, more

than $5,000,000 in controversy for her breach-of-contract claim, should it survive at

all.


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                                      NOTICE

         44.        As required by 28 U.S.C. § 1446(d), Defendants are providing

written notice of the filing of this Notice of Removal to Plaintiff and are filing a copy

of this Notice of Removal with the Clerk of the Circuit Court for the Fifth Judicial

Circuit in and for Lake County, Florida.


                                     Respectfully submitted,
 DATED: October 14, 2021             BAKER & HOSTETLER LLP

                                     By: /s/ Julie Singer Brady
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                                     Attorneys for Defendants
                                     THE VILLAGES TRI-COUNTY MEDICAL
                                     CENTER, INC. d/b/a UF HEALTH CENTRAL
                                     FLORIDA; LEESBURG REGIONAL
                                     MEDICAL CENTER, INC. d/b/a UF HEALTH
                                     CENTRAL FLORIDA; and CENTRAL
                                     FLORIDA HEALTH, INC. d/b/a UF HEALTH
                                     CENTRAL FLORIDA




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                          CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing DEFENDANTS’

NOTICE OF REMOVAL was filed and served through the Court’s ECF system

on this 14th day of October, 2021, on all counsel of record.



                                       /s/ Julie Singer Brady
                                       Julie Singer Brady




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